Case 2:17-cv-00699-BRM-ESK Document 639 Filed 05/26/23 Page 1 of 3 PageID: 22671




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                                               Counsel for plaintiffs and the class

                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

  IN RE INSULIN PRICING                        Civil Action No. 2:17-cv-00699
  LITIGATION                                   (BRM)(ESK)


                                                       NOTICE OF MOTION




  To:   All Parties and their Respective Counsel of Record

        PLEASE TAKE NOTICE that, upon the accompanying memorandum of law,

  supporting declarations and the exhibits attached thereto, and the record in the above-

  captioned action, Plaintiffs, by their undersigned counsel, will respectfully move this

  Court, before the Honorable Brian R. Martinotti, U.S.D.J. at the United States Post

  Office and Courthouse Building, Newark, New Jersey 07101, at a date and time to be

  determined by this Court, for entry of the proposed Preliminary Approval Order

  under Federal Rule of Civil Procedure 23(e) that will consist of preliminarily

  approving the settlement reached between Plaintiffs and Defendant Eli Lilly and

                                             -1-
Case 2:17-cv-00699-BRM-ESK Document 639 Filed 05/26/23 Page 2 of 3 PageID: 22672




  Company (“Lilly”), certifying the settlement class, appointing Class Representatives

  and Class Counsel, approving AB Data as notice and settlement administrator,

  approving the form and content of notice, and scheduling a fairness hearing to

  consider final approval of the settlement and related matters.

           The proposed Preliminary Approval Order has been agreed to by Plaintiffs and

  Lilly.

  DATED: May 26, 2023

  C ARELLA , B YRNE , C ECCHI ,
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                                             -2-
Case 2:17-cv-00699-BRM-ESK Document 639 Filed 05/26/23 Page 3 of 3 PageID: 22673




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                                         -3-
